                Case 3:18-cv-05823-BHS Document 13 Filed 06/10/19 Page 1 of 2



1                                                                      Honorable Benjamin H. Settle
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5
                                 UNITED STATES DISTRICT COURT
6                               WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
7

8    DREW MITCHEM, individually,                      Case No. 3:18-cv-05366-BHS
9                  Plaintiff,                         ORDER RE:
                                                      PLAINTIFF’S UNOPPOSED MOTION TO
10         v.
                                                      CONSOLIDATE CASE WITH
     NATIONAL RAILROAD PASSENGER                      LINTON AND VAUGHNS CASES
11
     CORPORATION d/b/a AMTRAK,
12                                                    NOTED ON MOTION CALENDER:
                   Defendant.
                                                      FRIDAY, June 7, 2019
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14
            This matter having come before the Court upon motion by Plaintiff Mitchem to consolidate
15
     the trial of this action with the related actions of Linton v. Amtrak, Case No. 3:18-cv-05564-BHS
16
     and Vaughns v. Amtrak, Case No. 3:18-cv-05823-BHS, and considering the related claims, experts
17
     and counsel, and the asserted efficiencies, economics and finding good cause, it is ORDERED:
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            1. The Mitchem, Linton and Vaughns actions are consolidated for pretrial and trial in
19
                 accord with case schedule set out in Mitchem.
20
     DATED this 10th day of June, 2019.
21

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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge
24
      ORDER RE MOTION TO CONSOLIDATE - 1                                         LUVERA LAW FIRM
                                                                                   ATTORNEYS AT LAW
      Case No. 3:18-cv-05366-BHS
                                                                        6700 COLUMBIA CENTER • 701 FIFTH AVENUE
                                                                              SEATTLE, WASHINGTON 98104
                                                                                     (206) 467-6090
              Case 3:18-cv-05823-BHS Document 13 Filed 06/10/19 Page 2 of 2



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     Presented by:
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     LUVERA LAW FIRM
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8    Attorneys for Plaintiffs
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      ORDER RE MOTION TO CONSOLIDATE - 2                          LUVERA LAW FIRM
                                                                     ATTORNEYS AT LAW
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